                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 MALCOLM JONES,                                      )
                                                     )
                Petitioner,                          )
                                                     )
 v.                                                  )       Nos.    3:13-CR-161-PLR-HBG-25
                                                     )               3:16-CV-383-PLR
 UNITED STATES OF AMERICA,                           )
                                                     )
                Respondent.                          )


                                  MEMORANDUM OPINION

        Before the Court is Petitioner’s pro se motion to vacate, set aside, or correct his sentence

 pursuant to 28 U.S.C. § 2255 [Doc. 962]. For the reasons stated below, Petitioner’s § 2255

 motion [Id.] will be DENIED and DISMISSED WITH PREJUDICE.

 I.     BACKGROUND

        In April of 2014, Petitioner pled guilty to conspiracy to distribute and possess within

 intent to distribute 500 grams or more of cocaine, in violation of 21 U.S.C. §§ 846, 841(a)(1) and

 (b)(1)(B) [Doc. 241 ¶¶ 1, 3, 4]. Based on prior Tennessee convictions for possession with intent

 to sell a controlled substance and aggravated robbery, Petitioner was deemed a career offender

 with a resulting guideline range of 188 to 235 months’ imprisonment with a maximum statutory

 term of forty years’ incarceration under § 841(b)(1)(B) [Presentence Investigation Report

 (“PSR”) ¶¶ 82, 85, 93, 94, 115, 116]. As a result of the United States’ Section 5K1.1 motion for

 downward departure and motion for variance, Petitioner received a below-guidelines 123-month

 term of incarceration followed by six years’ supervised release [Doc. 679]. No appeal was taken.




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        On June 26, 2015, the United States Supreme Court decided Johnson v. United States,

 135 S. Ct. 2551 (2015). Slightly under one year later, on June 23, 2016, Petitioner filed the

 instant request for collateral relief in light of Johnson [Doc. 962].

 II.    STANDARD OF REVIEW

        The relief authorized by 28 U.S.C. § 2255 “does not encompass all claimed errors in

 conviction and sentencing.” United States v. Addonizio, 442 U.S. 178, 185 (1979). Rather, a

 petitioner must demonstrate “(1) an error of constitutional magnitude; (2) a sentence imposed

 outside the statutory limits; or (3) an error of fact or law . . . so fundamental as to render the

 entire proceeding invalid.” Short v. United States, 471 F.3d 686, 691 (6th Cir. 2006) (quoting

 Mallett v. United States, 334 F.3d 491, 496–97 (6th Cir. 2003)). He “must clear a significantly

 higher hurdle than would exist on direct appeal” and establish a “fundamental defect in the

 proceedings which necessarily results in a complete miscarriage of justice or an egregious error

 violative of due process.” Fair v. United States, 157 F.3d 427, 430 (6th Cir. 1998).

 III.   ANALYSIS

        Petitioner articulates a single ground of collateral attack, arguing Johnson—in which the

 United States Supreme Court invalidated the ACCA’s residual clause as unconstitutionally

 vague—precludes his continued categorization as a career offender [Docs. 962; 963 (implying

 that Johnson’s holding extends to identical provisions of the Guidelines and, as a result, his prior

 convictions no longer qualify as career-offender predicates)]. The Court finds that it need not

 address whether the petition is timely because, even assuming the Court were to find that

 Johnson’s application in the Guideline context triggered a renewed window under § 2255(f)(3),

 see 28 U.S.C. § 2255(f)(3) (providing an alternative commencement from “the date on which the



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 right asserted was initially recognized by the Supreme Court and made retroactively applicable

 to cases on collateral review”), the proposed claim would fail as a matter of law.

        A. Categorization as Career Offender after Johnson v. United States

    The ACCA defines “violent felony” as “any crime punishable by imprisonment for a term

 exceeding one year” that (1) “has as an element the use, attempted use, or threatened use of

 physical force against the person of another” (the “use-of-physical-force clause”); (2) “is

 burglary, arson, or extortion, involves use of explosives” (the “enumerated-offense clause”); or

 (3) “otherwise involves conduct that presents a serious potential risk of physical injury to another

 (the “residual clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual clause—

 that the Supreme Court deemed unconstitutional in Johnson. 135 S. Ct. at 2563. The Court went

 on to make clear, however, that its decision did “not call into question . . . the remainder of the

 [ACCA’s] definition of violent felony,” i.e., the use-of-physical-force and enumerated-offense

 clauses. Id. Nor did Johnson disturb the use of prior serious drug offenses as predicates. The

 Sixth Circuit recently held that the same vagueness analysis renders the Guidelines’ parallel

 residual clause constitutionally infirm. See United States v. Pawlak, No.15-3566, 2016 WL

 2802723, at *8 (6th Cir. Mar. 13, 2016) (concluding that the “rationale of Johnson applies

 equally” to the Guidelines’ residual clause definition of crime of violence).

    Section 4B1.1 classifies a defendant as a career offender if (1) he or she was at least eighteen

 years old at the time the defendant committed the instant offense; (2) the instant offense of

 conviction is a felony that is either a crime of violence or a controlled substance offense; and (3)

 he or she has at least two prior felony convictions of either a crime of violence or a controlled

 substance offense. U.S. Sentencing Manual § 4B1.1(a). Only Petitioner’s satisfaction of the

 third prong—possession of two qualifying predicate convictions—is disputed [Doc. 962].

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    “Controlled substance offense” is defined as any offense “punishable by imprisonment for a

 term exceeding one year, that prohibits the manufacture, import, export, distribution, or

 dispensing of a controlled substance . . . or the possession of controlled substance . . . with intent

 to manufacture, import, export, distribute, or dispense.” U.S. Sentencing Manual § 4B1.2(b).

 “Crime of violence” is defined in an almost identical manner as “violent felony” under the

 ACCA. See U.S. Sentencing Manual §4B1.2(a) (adopting identical use-of-force and residual

 clauses as well as a nearly identical enumerated-offense clause).

    The validity of Petitioner’s sentence thus depends on whether two or more of his prior

 convictions qualify as “crimes of violence” under one of the unaffected provisions of Section

 4B1.2 or “controlled substance offenses.” See e.g., United States v. Ozier, 796 F.3d 597, 604

 (6th Cir. 2015) (explaining courts need not decide what import, if any, Johnson has on the

 Sentencing Guidelines’ residual clause where the petitioner’s prior convictions qualify as

 predicate offenses independent of the residual clause).         To determine whether an offense

 qualifies under one of the above provisions, courts must first identify the precise crime of

 conviction by employing a “categorical approach,” looking “only to the statutory definitions—

 elements—of a defendant’s prior offense, and not to the particular facts underlying [each

 individual] conviction[].” Descamps v. United States, 133 S. Ct. 2276, 2283, 2285 (2013).

    A review of Petitioner’s PSR reveals that a sufficient number of his prior convictions

 categorically qualify as predicate offenses independent of the residual clause and, as a result, the

 Court finds that he has failed to demonstrate an entitlement to § 2255 collateral relief.

    At least one of Petitioner’s prior drug convictions—possession with intent to sell a controlled

 substance [PSR ¶ 93]—involved the possession of a controlled substance with intent to distribute

 and carried a maximum penalty in excess of one year incarceration, see United States v. Carter,

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 283 F.3d 755, 757–58 (6th Cir. 2002) (finding three convictions for sale of cocaine constituted

 three separate predicate offenses under 4B1.2); United States v. Kinzer, No. 2:10-cr-84, 2014

 U.S. Dist. LEXIS 29340, at *2–3, 15–19 (E.D. Tenn. Mar. 7, 2014) (explaining two convictions

 for possession of marijuana with intent to sale constituted “controlled substance offenses”), and,

 as a result, was properly classified as qualifying predicate conviction under Section 4B1.1(a)(3).

 Johnson is inapposite. See United States v. Jenkins, 613 F. App’x 754, 755 (10th Cir. 2015)

 (deeming Johnson “irrelevant” where enhancement stemmed from drug offenses).

       Further, Sixth Circuit precedent makes clear that Petitioner’s aggravated robbery conviction

 [PSR ¶ 94] categorically qualifies as a predicate offense independent of the residual clause. See

 United States v. Taylor, 800 F.3d 701, 719 (6th Cir. 2015) (“[T]he Supreme Court’s holding in

 Johnson leaves unaffected the Court’s determination that simple robbery in Tennessee is a

 predicate offense under the ‘use-of-physical-force’ clause.”); United States v. Bailey, No. 14-

 6524, 2015 WL 4257103, at *4 (6th Cir. July 15, 2015) (“Tennessee convictions for aggravated

 robbery and robbery are categorically violent felonies under the ACCA’s use-of-physical-force

 clause.”); United States v. Mitchell, 743 F.3d 1054, 1058–60 (6th Cir. 2014) (holding Tennessee

 robbery is categorically a violent felony under the ACCA’s use-of-physical-force clause). As

 such, the aggravated robbery conviction provides the second and final predicate offense required

 for Petitioner’s continued categorization as a career offender under Section 4B1.1.

 IV.      CONCLUSION

          For the reasons discussed above, Petitioner’s § 2255 motion [Doc. 962] will be DENIED

 and DISMISSED WITH PREJUDICE. The Court will CERTIFY any appeal from this action

 would not be taken in good faith and would be totally frivolous. Therefore, this Court will

 DENY Petitioner leave to proceed in forma pauperis on appeal. See Rule 24 of the Federal

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 Rules of Appellate Procedure. Petitioner having failed to make a substantial showing of the

 denial of a constitutional right, a certificate of appealability SHALL NOT ISSUE. 28 U.S.C. §

 2253; Rule 22(b) of the Federal Rules of Appellate Procedure.

        AN APPROPRIATE ORDER WILL ENTER.




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